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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



  Redi-Data, Inc.,
                                                      Civil No. 20-17484 (JMV)
           Plaintiff,

           v.                                         NOTICE OF CALL FOR DISMISSAL
                                                      PURSUANT TO F.R.Civ.P.4(m)
  The Spamhaus Project,

           Defendant.



           PLEASE TAKE NOTICE, that the above captioned action will be dismissed on
October 20, 2021, for failure to effect service of the summons and complaint within 90 days of
the filing of the complaint, unless you establish that service was effected within said 90 days, by
filing proof of service with the Clerk of the Court before the return date of this notice. If proof
of service is not filed before the return date, counsel or unrepresented parties may be required to
appear before the Court, to show good cause why this action should not be dismissed. The Clerk
of the Court shall provide a copy of this notice to Plaintiff by regular and certified mail return
receipt.

                                                         WILLIAM T. WALSH



                                                       by:   RoseMarie Olivieri
  Date: September 30, 2021                                   RoseMarie Olivieri
                                                             Senior Courtroom Deputy


If applicable, counsel of record is directed to serve this notice to their client, whose street and
post office address do not appear in the complaint as directed by Local Civil Rule 10.1, and to
provide proof of service to the Court.
